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                     EXHIBIT A
Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 2 of 26                                                      PageID 11


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                                 IN THE CHANCERY COURT OF TENNE
                     FOR THE THIRTIETH JUDICIA DISTRICT A                                                                COUNTY~
                                                                                                              HA;:NE~~ ~:i~- ~

  THOMAS E. P ARMORE &
                                                                                                            OEWUN R. SETTLE M
  PATRICIA A. P ARMORE,
                                                                                                       TIME: IV' 32. BY'

             Plaintiffs,
  VS.                                                                                  No. ~H-li.- 00100-1
  BANK OF AMRICA, N.A., and
  DEUTSCHE BANK NATIONAL TRUST COMPANY,

             Defendants.


     COMPLAINT TO RESTRICT AND PROHIBIT FORECLOSURE, TO SET ASIDE
    FORECLOSURE, FOR DAMAGES, AND FOR LEGAL AND EQUITABLE RELIEF


             To the Honorable Chancellors of                      the Thirtieth Judicial Distrct at Memphis:

             i Plaintiffs are residents and citizen of Tennessee and they have been so at all


  relevant times with respect to the allegations herein. They reside at 94 Rogers Drive, Atoka,

  Tennessee.

             2. Defendant Ban of America, N.A. is, upon information and

  belief, a corporation and baning entity doing business in the State of
                                                                                                            Tennessee.

             Defendant Deutsche Ban National Trust Company is a baning and mortgage entity

  which is engaged in business in the State of Tennessee. It has a registered agent for service

   of   process in the State.

             It is unclear from the record which one of
                                                                           these entities is the owner of          the mortgage


   and which one is the servicer. Originally, the loan was with First Franlin Mortgage

   Services and these same paries were in a suit in the United States District Court. That case

  was voluntarily dismissed when the lender agreed to accept a home loan modification



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   request. Unfortately for the Plaintiffs, it was never acted upon.

           Plaintiffs have been advised that no furter delays wil be taken on the eviction and it

   is presently pending in Circuit Court.

           Plaintiffs are aware that they largely wil be unable to defend themselves in the

   pending eviction proceedings because that court does not inquire into the title or the

   appropriateness of the foreclosure or the charges.

           2. Plaintiffs received inadequate and misleading notice of the foreclosure.

           Plaintiffs were confued about their status because the mortage company had

   been accepting payments, apparently, before, during and after the foreclosure.

           Dung the life of   the mortgage the payments have been less than $600.00 per

  month.

           Plaintiffs are being evicted right now with respect to a mortgage foreclosure that is

   claimed to have occured in 2008, almost 4 years ago. Plaintiff assert that their mortgage

  was trasferred, sold, or given to another entity without their knowledge, and as a result, for

  year they did not know who to make the mortgage payments to or where to send them.
                                                                                                    "...


           3. Plaintiffs fuher alleges that the charges and fees which have


  been run up on the account are excessive, duplicative, and have led to furher and

  additional defaults.

           4. Plaintiffs allege that Deed of Trust in this instance is a contract of adhesion;

  not contemplated, read or negotiated by the paries, and that the process in Tennessee

  of   foreclosure by a Trutee on the courthouse steps denies citizens ofríghts they

  would otherwise have to under due process under the law.



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                                        .)                                                   )


              5. Defendats' conduct has violated the Tennessee Consumer Protection Act

   and they are guilty offalse and misleading practices in violation ofT.C.A. 47-18-loi

   et seq. It is specifically alleged that the solicitation of                      fuds while publishig and


  pursuing a foreclosure is a misleading practice.

              Plaintiffs fuer allege that the adjustable rate mortgage and product which financed


  this loan was abusive, and resulted in a huge increase in the loan payment, and fuer, that

  the loan from the outset was calculatd to result in a default though technques such as front-

  loading huge fees and also not including an escrow for the payment of
                                                                                                    taxes and for the

  collection of insurance premiums.

             6. Plaintif specifcally allege and assert thai they were never notifed of any


  transfer from First Franklin Loan Services, their previous mortgage company, to any third

  part at any time, in violaon ofnumerousfederal guidelines and RESPA.

             7. As a result of the concerted conduct of the Defendants the

  Plaintiffs have been damaged, has no peace of                              mind with respect to the propert, and

  has lost financing opportities and other avenues of relief.

             8. Plaintiffs allege that it is misleading to debtors and consumers to have a

  collection deparment that is soliciting inquiries and tellng consumers one thing,

  and a lawyer who is foreclosing on the propert at the same time.

             In this case, there was no notice of anything except the payments which were

  due, and the notices as to what the payment was were confuing and not explained.

             9. As a result of not receiving proper notice, the Defendants have left your

  Plaintiffs with no timetable that is manageable for the reinstatement of
                                                                                                    their loan.



  In fact, they have been told it is an impossibility.
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             10. Of the money that the Plaintiff allegedly owes on the mortgage, it is

  alleged that the majority of     the past due fuds are attorney fees, unexplained mortgage

  charges, escrow advances that were not disclosed or explained, and/or tax advances that

  should not have been necessar in the case ifthe Defendants had properly

  calculated the fuds needed on an ongoing basis staring about thee (3) year ago.

             1 1 . Plaintiff has no remedy at law to remain in the propert, and they wil suffer an

  irreparable injury in the event they are evicted. An eviction matter is presently pending in

  the Circuit Court and James Bergstrom of Wilson & Associates, PLLC is counsel on the

  case. He has been advised that a temporar restraining order shall be sought by the Plaintiffs

  in this court on Januar 12,2012 to halt the eviction process and keep the Plaintiffs in their

  home. He is aware that extraordinar relief under Rule 65 is being sought. He has advised

  that while he does not consent to the issuance of a tempora restraining order, he shall not

  appear to oppose it, and he shall notify his clients ofthe pending litigation and wait for them

  to assign counsel.

            WHEREFORE, PREMISES CONSIDERED, PLAITIFS PRAY:

            1. That a copy of    this suit be served upon the Defendants and that they be

  required to answer this suit or suffer a judgment by default.

            2. For ONE MILLION DOLLARS ($1,000,000.00) in compensatory

  daages from the Defendants for the losses and conduct which is detailed above.

            3. For the right to amend this complaint after discovery and additional

  information is uncovered.

            4. For a temporar restraining order, preliminar injunction and/or permanent
Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 6 of 26                            PageID 15


                                        ,



  injunction to protect the rights of       the Plaintiffs and keep them in their home afer the

  foreclosure and until this litigation can be resolved.

             5. For such fuher and other relief as to which the Plaintiffs may be entitled.




                                                             , #11017
                                              Jones & G ett
                                              Professional Association
                                              Suite 315
                                              1835 Union Avenue
                                              Memphis, Tennessee 38104
                                              (901) 526-4249
                                              Attorney for the Plaintiffs


  TilS IS THE FIRST APPLICATION FOR EXTRAORDINARY RELIEF IN THIS
  CAUSE
Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 7 of 26                                PageID 16


  ,'                             )                                           )




       STATE OF TESSEE

       COUN OF SHELBY

               I, THOMAS P ARMORE hereby state under oath or by affrmation that the
       facts and allegationssêtJort~tle preceding complaint and request for injunction


       entitled to the rtie?,s.O o. iJ!IE ~
       are tre and corrt.,-t~...e.'.15.~..~,-.- ¡'rli.ri)knOWledge, information.and belief, and I am



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                                         So,?'
                                     ..);Pd,.:c.-:' '-

               Sworn to and       Subscribed to before me . the 4th day          of Januar, 2012.
Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 8 of 26                  PageID 17




                                              FIAT
     To the Clerk of     the Cour:

     Please issue the temporar restraing order and/or set this matter for a hearing

     as prayed for by the Plaintiff prohibiting the Defendant from proceeding with

     the eviction of the Plaintiffs from the propert at 94 Rogers Drive, Atoka,

     Tennessee, as presently scheduled and set this matter for the

                2(l day 0 Cf flu ,2012 at
                                        . sue or serve n tice upon the Defendants.

                Injunction bond is se      l5p()/~

                                           ~L:ç
                                           Chancellor

                                           Date
                                                         /i
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       Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 9 of 26                                                                                                                      PageID 18


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           STATE OF TENNESSEE                                                                                                                                          DOCKET NUMER
          30th JUDICIAL DISfCT
           CHANCERY COURT AT                                                                      Sl1dNS;                                 ~.~

                                                                                                                                                                       CD-
                                                                                                                                                                                  12-0060-1
                   MEMPms                                                                      'in,') q. til ') r          PM tc.?,-
        Plaintiff                                                                              LU'" ..,...       '"ef enêian t

                                                                                             ~';~ V ~~., Sf r~ .~ ~ Q H T i: i V ~: ~. rl ~:
        Thomas Parimore. etux.                                                                                    Bank of America, et al

        TO:     (NA AN APDRESS                          OF DEFE)
                                                                                                                                                                       Method of               Service:                          .




                                                                                                                                                                o Certified Mail
        Deutsche Bank National Trust Company                                                                                                                   ~ Shelby County Sheriff
        Serve: Dennis Gilespie                                                                                                                                       Comm. Of rnsurance*
        119 So. Main Street, Suite 500                                                                                                                         ri Secretary of State""
       Memphis, Tennessee 38103                                                                                                                                -.out of County Sheriff*
                                                                                                                                                               o     Private            Process Serv

       You are summoned to defend a åvil acon file agains you in the Chanc Court of Shelby County, Tennes. Your
                                                                                                                 L   -                                         o    Other
                                                                                                                                                                     *Attach            Required Fees



       answer to this acon must be mae wiin thirt (30) days from th date this summons Is seed upon you. You mus
       flle your answer with th Clerk of the Court and se a copy to the plaintiffs atorney at the addre lis bew. If

       you fail to defend this actDn witin thirt (30) days of servic, judgment by default can be rendered against you for

       th relief sought In th complaint.


       Attrney fo plaintiff or plainff If filing Pro 5e:
       (Name, add&. teleone nller)                                                                        ISSUED.. or JO-"'h,~r.A                                                            ,20l!
                                                                                                                                                                               ..iT
   Ted i. Jones, #11017
   Jones & Garrett, Professional Association
                                                                                                         DonDa Q Russu'll1J Mate.
   Suite 315, 1835 Union Avenue
   Memphis, TN 38104
                                                                                                         By: ~ f'.\).e .~
                                                                                                                                                lerk & Master
   (901) 526-249, DtedijoneS@aol.com
                                                                                                                            ("l'r.r
   TO THE SHERIFF:                                                                                               Came       to hand
                                                                                                                                   day     of                                              ,20

                                                                                                                 Shenff
                                                                                                                 BILL OL SHERFF
   **Submit one original and one copy for each defendant to be sered.

  ! Questions regardinq this sumons and the attached documnts should be
  addressed to the Attorney listed above.

                                                   bFor ADA assistance only, call (901) 379-7895

  09/18/07
    Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 10 of 26                                                                              PageID 19


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                                                      RETURN ON SERVICE OF SUM0NS

         I hereby rern this summons as follows: (Name of                          Par Served) -- Q. 1.$ (Ylt't\"~~
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  DATE lF RETU: This ~ day of 1Õ A \ÀCl ¡ ~                                            .               W~\ ~f\- )l )4, ~ S'"' ~ '\4- ~
                                                                                                Sheriffor other autorized person to serve process

                                                RETU ON SERVICE OF
                                                                .
                                                                   SUMONS BY MAIL
                                                 ,.
 J hereby certi fy and retu that on the                         day    of                                          . 20_. J sent, postae prepaid. by registered rern

                                                                                                                           the complaint in cae Ol-                 to
 receipt mail or certfied return recipt mail, a certified copy of the summons and a copy of

                                                                                                                                            , 20-- I received the retum
 the defendat                                                   . On        the_day        of


 reipt, which had ben signed by                                                                  . onthe_dayof                                              ,20_.
 The retrn receipt is athed to this original summons to be filed by the Chancer Court Clerk & Master.

 Sworn to and subscribe before me on thi                  _dayof                                     Signature of plaintiff, plaintiffs attorney or other person
             ,20 .                                                                                   authorized by state to serve proces.
 Signature of -= Notary Public or _ Deput Cour Clerk


 Mv Commission Expire:
                         NOTICE OF PERSONAL
                     .' PROPERTY EXEMP',IQN
 TO TI DEFENDAN(S):
                      . . '...iuui         ..         . ... r~. nnl\ "n,
                                                         ~.."         ,~ ,
 debior's equity interest personal propert exemption from execution or
 seizure to satisfy a judgment. If a judgment should be entered against
 you in this action and you wish to claim propert as exempt, you must
 file a WTitten list, under oath of the item you wish to claim as exempt
                 the court. The list may be filed at any time and may
 with the clerk of

 be changed by you thereafer as necessa; however, unless it is fied
 before the judgment becomes final, it wil not be effective as tõ any
 execution or garishment issued prior to the filing of                 the list. Certin
 items ar autmaticaly exempt by law and do not nee to be listed;                                                                       ATIACH
 these include items of necessary wearing apparel (clothing) for yourself                                                              RETUR
 and your faly and trunk or other receptacles necessa to contain                                                                   RECEIPT
 such apparl, faily portits, the family Bible, and school boks.
 Should any of       these items be seized you would have the right to
                                                                                                                                    HERE
 recover them. lfyou do not understand.yourexemptionright or how, to                                                          (IF APPLICABLE)
 exercise it, you may wish to seek the counsel of a lawyer.

     Maíllist to: Clerk & Mater
                  140 Adam Ave.
                  Room 308
                  Memphis, 1N 38103

 Please state file number on list.
                                                      CERTIFICA nON (I APPLICABLE)
 I, Donna L. Russell, Clerk & Master of the Chancery Court in the State                              Donna L. Russell, Clerk & Master
 of Tennessee, Shelby County, do cefY this to be a tre and correct

 copy of the original summons issued in this case.                                                   By:
                                                                                                                                            D.C.&M.
09f18/07
Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 11 of 26                              PageID 20


                                  CHACERY COURT CLERièS oFFCÊ..
                                              MæMPHIS, TEESSEE


           Thoma Parmore, etux.
               Plaitiff(s)

   vs
       Bank of America, N.A. et al.
                  Defendat( s)


  TO

  Deutsche Bank National Trust Company

                                                                  restrinng prder or injunction
      You ar hereby notified that application for
                                                      III .on                . Thurday
 will be heard before the Chancer Cour Par
 the 26th , day of Januar                               20 12'
                                                                           . .
                                                                 at 1 0:00 ~ , o'clock ~.M. as prtiyed forin

 the Complait filed in this caus a copy ofwhêti acmpaesfhis writ and upon which Fiat has b~en granted.
 HEREIN FAI NOT.
 Witess Donn L. RusselL, Cler and Master of said Cour at offce, the              (7                ,qayof
       :rA."\\J~ r"\ ' 20 l'l .


                                                      :NNA L. RUSSk M.

                                                           1Y Deutyc.& M.
                                             RESTRG ORDER
    In the meantime,
    you are prohibited from evicting the Plaitiff from 94 Rogers Drive



until furter Orer of     this Court to the contrary



                                                                                      Chancellor
                                                                     Chancery Cour Shelby County, Tennessee


                                                                         I. /7. '2012,                      .M.
                                                                                      Date
                     ., 'l () - r




 NOTICE     OF




    VS.




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                                                                   Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 12 of 26




D., ger Vl ~fìry'S Gì\\e\?
~ \ DiS /VI\Å \ lì 1\:, ~-WIOY" V,
          Attrney ror Plaintiff(s)
                                                                   PageID 21
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      STATE OF TENNESEE                                                                                        DOCKET NUMBER
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     CHANCERY COURT AT                          -1'---1."
                                               ..... ~ J =. t ..~"c
                                                                . J ~(;' ._' -- - ~                                  12-0060-1
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         MEMPIDS                                                  _..             "'..
   Plaintiff                                  iii 1.1£\11 c:Ll rn         JD~ndant
   Thomas Panmore, etux.                  t:r'ilL. SECflCN r"
                                                           \.1 ¡i ¡ri¡~,
                                                               13ank of Amenca, at al

  TO:      (NA AN ADDRESS OF DEFENDAN)
                                                                                                               Method of Service:

                                                                                                          (J Certified Mail
                                                                                                          ~ Shelby County Sheriff
  Bank of America, NA
                                                                                                         DComm.          Of Insurancet
  1 () Peabody Place
  Memphis, Tennessee 38103
                                                                                                         o Secreta ofState*
                                                                                                         o OUt of County Sheriff*
                                                                                                         o Private Proess Serer
                                                                                                         o   Other

                                                                                                             *Attaoh Required Fees
                                                                                                   'I
  You are sumoned to defend a civil acton filed again~U In the. Court of Shelby County, Tenne, Your
  answr to th acton must be made within thirt (30) day.. .. da this summon is served upon you. You mus
  file your answer wi the Clerk of the Court and send a copy to th plaints attrney at th addre list below. If
  you fail to defend this acton withn thirt (30) days of service, judgment by deult can be rendered agains yo for
 the reief sought in the complaint.

 Attorney for plalntior plaInti if filing Pro Se:
 (Name, addres & telephone numb)                                    ISSUED fl of                   -r ø. t' 11' 1\           .20lL
                                                                                                                     I
                                                                                                                     L
 TedL Jones, #11017
 JOfles & Garrett, Professional Association
                                                                    Donna L. Russell, ~1J:rk and Master
 Suite 315, 1835 Union Avenue
 Memphis, TN 38104
                                                                    By:            6-
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                                                                                         ~~ty ~Ierk & Master
 (901) 526-4249, Dtedijones@aol.com


 TO THE SHERIFF:                                                          C8metohand
                                                                          __day               of                            ,20

                                                                          Sheriff


 **Subt one original and one oopy for eaoh defendant to be served.
 ! Questions regarding this sumns and the attached documents should be
 addressed to the Attorney listed above.

                                  b For ADA assistance onlyi call (901) 379-7895

 09/1a/07
         Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 14 of 26                                                      PageID 23



                                                       RETURN ON SERVICE OF SUMONS
      ~ I hereby return this swnmons as follows: (Name ofPar Served)                   C. H"..nA ij I~ ~1J')P~)~
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       o NotServed                                                                      0   Oter

                                                                                By:
       DA TE OF RETU: This _day                   of                      .
       20                                                                        Sheriffor other authri person to serve process
                                                  RETUR ON SERVICE OF SUMONS BY MA

       r hereby cerifY and return that on the             day   of                              . 20-- I sent, postage prepaid, by registered retu

      receipt mail or certified rerum receipt mail. a certified copy of the summons and a copy of the complaint in cae æ-                         to
                                                                     -
      the defendant                                       . Onthe~dayof                                                  .20_. I received the retu

      receipt, which had ben signed by                                                on the _ day of                                     ,20_,
      The return receipt is atached to this original summons to be filed by the Chancery Court Clerk & Maser,
      Sworn to and subscribed berore me on this _day                 of               Signanre of plaintiff, plaintiffs attrney or other persn
                ,20_.                                                                 authorize by statute to serve pross.
      Signature of_Notary Public or _ Deputy Cour Clerk


      My Commission Exires:
                         NOTICE OF PERSONAL
                      . PROPERTY EXEMPTION
      TO TH DEFENDANT(S):
           Tennessee law prodes a four thousand dollaom
      debtor's equity interest personal propert exemption from execution or
      seizure to satisfy a judgment. If a judgment should' be entered against
  you in this action and you wish to claim propert as exempt, you must
  file a written list, under oath, of the items  you wish to claim as exempt
  with the clerk of   the cour The list     may be filed at any time and may
  be changed by you therefter as necessary; however. unless it is filed
  before the judgment becomes final. it wil      not be effective as to any
  execution or glisbrent issued prior to the filing of the list. Certn
  items ar automatically exempt by law and do not need to be listed;                                               ATIACH
  thes include items of     necar weaing apparel (clothing) for yourself                                           RETUR
  and your family and trnks or other receptacles necssa to contain
  such apparel, family portits, the family Bible, and school books.
                                                                                                                   RECEIPT
 Should any of these items be seized you would have the right to                                                    HERE
 recover them. If  you do not understand your exemption right or how to                                   (I APPLICABLE)
 exercise it, you may wish to seek the counsel of a lawyer.

         Mail list to: Clerk & Master
                      i 40 Adams Ave.
                      Room 308
                      Memphis, TN 38103

 Please state fie number on list.
                                                       CERTIFICATION (IF APPLICABLE)
 I, Donna L. Russell, Clerk & Master ofthe Chancery Court in the State            Donna L. Russll, Clerk & Master
 of Tennessee, Shelby County, do certify this to be a tre and correct
 copy ofthe original summons issued in this case.                                 By:
                                                                                                                        D.C.&M.
09118/07
Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 15 of 26                                           PageID 24


                                              CHACERY COURT CLERK'S                      OFFCE
                                                                MEMPIlS. TEESSEE


           Thomas Parore. etu.
                      Plaitiff( s)


   VS

       Bank of America. N.A. et al.
                     Defendat(s)


  TO

  Ban of America. N.A.


      You ar hereby notified that application for
 wil be hea before the Chancery Cour Par lI , on Thurday
 the 26th , day


 the Complaint filed in this caus, a coy of



 HEREIN FAI NOT.
                                                                  . - .
                             of Januar 20 12 at 10:00 o'clock ~.M. as prayed for in
                                                            which acmpaes tls writ and upon which Fiat has been granted.


 Witness Dona L. Russell, Clerk and Maser of said Cour at offce, the                         (1                 :dayof
    :ro. Ð oJ 0- / '" , 20 I '2 .
                                ~

                                                                      DONNA L. RUSSELL, C.
                                                                      by


                                                              RESTRAG ORDER
    In the meantime,
    you are prohibited from evicting the Plaitiff from 94 Rogers Drive



until furter Or of           this Court to the contrary
                                                                                          WALTER L. EVANS

                                                                                                   Chacellor
                                                                                    Chancery Cour Shelby County, Tenness.ee


                                                                                                 1. ?-o i i. .M.
                                                                                                   Date
Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 16 of 26   PageID 25




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Case 2:12-cv-02158-tmp Document 1-2 Filed 02/27/12 Page 17 of 26                                                       PageID 26


                                            )




                                                      INJUNCTION BOND
                                                            No. CH-12-0060-1

                                                      Thomas Par         more & Patricia Pari       more
We



                                                                                                                       as principal and

                                                      Ted 1. Jones                                                as surety acknowledge

                                                                         Bank of America N.A., et aI.
ourselves indebted to

                                                                                                                          in the sum of

                                                $500.00 (Five Hundred and O/100ths)                                             Dollars


    The condition of         the above Bond is such, that where the sad

                                                        'Ibomas and Patricia Panmore

                                   this day filed
                                                                    a verifed                       Complaint in the Chancery Court
Complainant
                                                                                  Bank of America N.A., et aI.
of Shelby County against the said

Defendat and obtained an order for the isance of
                                                                   the Writ of        Injunction, in accordance with said order, upon

the execion of         ths Bod. Now, if            the sad Complainant shall pay such damages and costs as may be awarded

by the Chance Court in dismissing th complait, then this obligation to be void, othewise to remain in full

forc and effect.


Witness our hands and sels this, the
                                                         12th      day      of                  January         ,20~_.

                                                                                                ~ fJ,'me
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                 IN THE CHANCERY COURT OF SHELBY COUNTY, TENNESSEE
                    FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS


THOMAS E. PARIMORE &
PATRICIA A. PARIMORE

           Plaintiffs,

vs.                                                   Civil Action Docket No. CH-12-0060-1

BANK OF AMERICA, N.A., and
DEUTSCHE BANK NATIONAL TRUST
COMPANY,

           Defendants.


                              NOTICE OF FILING OF REMOVAL
           PLEASE TAKE NOTICE THAT on February 27, 2012, Defendants Bank of America,
N.A. and Deutsche Bank National Trust Company (collectively, "Defendants") filed their Notice
of Removal in the United States District Court for the Western District of Tennessee. A copy of

Defendants' Notice of    Removal is attached hereto as Exhibit A, and served and filed herewith.

           PLEASE TAKE FURTHER NOTICE THAT, pursuant to 28 U.S.C. § l446, the filing
of the Notice of Removal with the United States District Court, together with the filing of this
Notice of Filing of Removal, effects the removal of the action, and this Court shall proceed no
further unless and until this case is remanded.




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This 27th     day of   February, 20l2.          Respectfully submitted,




                                                g~S~2249)
                                                Paul Allen England (BPR No. 026288)
                                                STITES & HARBISON, PLLC
                                                SunTrust Plaza
                                                401 Commerce Street, Suite 800
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                                                ~~ j.~CJ
                                                Tanielle D. H~ PRNo. 02l843) C - r
                                                McGuire Woods LLP
                                                Fifth Third Center
                                                20l North Tryon Street
                                                Charlotte, North Carolina 28202
                                                (704) 343-2392 (phone)
                                                (704) 444-8745 (fax)

                                                Counsel for Defendants Bank of America, NA. and
                                                Deutsche Bank National Trust Company


                                     CERTIFICATE OF SERVICE

            I hereby certify that on this 27th day of Februar, 20l2, a copy of the foregoing was
served by first-class U.s. Mail addressed to the following:

            Ted i. Jones, Esq.
            Jones & Garrett, Professional Association
            1835 Union Avenue, Suite 315
            Memphis, TN 38104
            Attorneys for Plaintif




                                                    &~~
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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TENNESSEE
                                       WESTERN DIVISION


 THOMAS E. PARIMORE &
 PATRICIA A. PARIMORE

            Plaintiffs,
                                                         Civil Action No.
 vs.

 BANK OF AMERICA, N.A., and
 DEUTSCHE BANK NATIONAL TRUST
 COMPANY,

            Defendants.


                                        NOTICE OF REMOVAL

            Pursuant to 28 U.S.c. §§ 1331, 1332, 1367, 1441, and 1446, Defendants Bank of

 America, N.A. ("BANA") and Deutsche Bank National Trust Company ("Deutsche Bank")

 (collectively, "Defendants"), by and through counsel, hereby remove this action from the

 Chancery Court of Shelby County for the Thirieth Judicial District at Memphis, Tennessee to

 the United States Distrct Court for the Western District of Tennessee, Western Division.


 Removal is based on federal question jurisdiction because a federal question appears on the face

 of Plaintiffs' Complaint. Removal is also based on diversity jurisdiction because Plaintiffs and

 Defendants have complete diversity of citizenship, and the amount in controversy exceeds

 $75,000.00. In support of      this Notice, Defendants state as follows:

            I. BACKGROUND
            1. This case was originally fied by Plaintiffs Thomas E. Parimore and Patricia A.


 Parimore ("Plaintiffs") in the Chancery Court for Shelby County at Memphis, Tennessee on




 927707: i :NASHVILLE                                                              l--   EXHIBIT
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 January 12,2012. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

 served upon Defendant are attached as Exhibit A.

            2. Defendant BANA was served with a copy of the "Complaint to Restrict and

 Prohibit Foreclosure, to Set Aside Foreclosure, for Damages, and for Legal and Equitable Relief'

 ("Complaint") on January 26,2012.

            3. Defendant Deutsche Bank was served with a copy of the Complaint on January

 31,2012.

            4. Among other things, the Complaint specifically alleges that Defendants are "in

 violation of      numerous federal guidelines and RESPA." See CompI. ii 6.

            5. Plaintiffs pray for compensatory damages of $1,000,000.00, for the right to


 amend the Complaint after discovery, and for a temporary restraining order, preliminary and/or

 permanent injunction to protect the rights of the Plaintiffs and to keep them in the home until the

 litigation can be resolved. See Compl. Prayer ii 2-4.

            6. In filing this Notice of Removal, Defendants do not waive, and specifically

 reserve, any and all objections as to service, personal jurisdiction, defenses, exception, rights,

 and motions.


            II. THIS NOTICE OF REMOVAL WAS TIMELY FILED IN THE PROPER
                 VENUE.

            7. This removal is timely because it is fied "within thirty days of receiving the


 document that provides the basis for removaL." Lowery v. Ala. Power Co., 483 F.3d 1184, 1212

 (lIth Cir. 2007); see 28 U.S.C. § 1446(b); see also ii 2-3 herein.


            8. The United States District Cour for the Western District of Tennessee, Western


 Division is the proper venue to fie this Notice of       Removal under 28 U.S.c. § 1441(a) because it




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 is the federal district court that embraces the place where the original action was filed and is

 pending.

              III. THIS COURT HAS FEDERAL QUESTION JURISDICTION.

              9. Pursuant to 28 US.C. § 1331, "(tJhe district courts shall have original jurisdiction

 of all civil actions arising under the Constitution, laws, or treaties of the United States." This

 Court has original jurisdiction here pursuant to 28 US.C. § 1331 because it is apparent on the

 face of Plaintiffs' Complaint that this action arises under and presents substantial questions of

 federal law under the Real Estate Settlement Procedures Act, 12 US.c. § 2601 et seq.


 ("RESPA"). Thus, removal to this Court is proper under 28 U.S.c. § 1441(a), which provides, in

 pertinent part, that "any civil action brought in a State court of which the district courts of the

 United States have original jurisdiction, may be removed by the defendant or the defendants, to

 the district court of the United States for the district and division embracing the place where such

 action is pending." 28 US.c. § 1441(a).

              10. Furher, to the extent the Complaint alleges statutory, state common law or other


 non- federal claims, this Cour has supplemental jurisdiction over any such claims under 28

 U.S.c. § 1367 because those claims arise out of the same operative facts as Plaintiffs' claims

 under the federal law and "form part of the same case or controversy under Aricle III of the

 United States Constitution." 28 U.S.c. § 1367(a).


              11. Thus, because some of        Plaintiffs' claims arise under the laws of   the United States,

 removal of        this entire cause of action is therefore appropriate under 28 U.S.c. § 1441 (a)-( c).

              IV. THIS COURT HAS DIVERSITY JURISDICTION.

              12. This Court also has original jurisdiction over this action under 28 U.S.c. § 1332,

 which provides: "The district courts shall have original jurisdiction of all civil actions where the



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 matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

 between - (1) citizens of different States. . . " 28 U.S.c. § 1332(a).

            13. Pursuant to 28 U.S.c. § l44l(b), "(aJny other such action shall be removable only


 if none of the parties in interest properly joined and served as defendants is a citizen of the State

 in which such action is brought."

                       A. Diversity of Citizenship Exists Between Plaintiffs and Defendants.

            14. There is diversity of citizenship between Plaintiffs, who are Tennessee residents,

 and Defendants, who are residents of different states. See 28 U.S.C. § 1332(a).

            15. Plaintiff           is a resident and citizen of       Tennessee. See Compl. ir 1.

            16. Defendant Bank of America, N.A. is a national bankng association organized

 under the laws of            the United States with its main office as set forth in its articles of association in

 North Carolina. See Wachovia Bank v. Schmidt, 546 U.S. 303, 307, 1265. Ct. 941, 945 (2006)

 ("(A J national bank, for § 1348 purposes, is a citizen of the State in which its main offce, as set

 forth in its articles of association, is located."); see also, Hil v. Bank of America Corp., 2006 WL

 1518874, at *1 (N.D. Ga. May 30, 2006) ("Bank of America, N.A. . . . is a national bankng

 association located in the State of North Carolina, as designated in its articles of association.").

 Thus, BANA is a citizen of               North Carolina.

            17. Defendant Deutsche Bank National Trust Company is a corporation organized


 under the laws of New York, with its principal place of business in California. Therefore

 Deutsche Bank is a citizen of               New York and Californa.

            18. Because Plaintiffs are citizens of Tennessee, Defendant BANA is a citizen of

 North Carolina, and Defendant Deutsche Bank is a citizen of                     New York and California, complete

 diversity of citizenship exists between Plaintiffs and all Defendants.



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                   B. The Amount in Controversy Exceeds $75,000.00.

          i 9. Although Defendants deny that Plaintiffs are entitled to recover any amount, and

 specifically deny that Plaintiffs are entitled to the relief in the various forms sought, the

 Complaint's allegations place in controversy more than $75,000.00, exclusive of interests and

 costs.

          20. Plaintiffs pray for compensatory damages of $ i ,000,000.00. See Comp!. Prayer ii


 2. Based on Plaintiffs' prayer for relief, the amount in controversy is well in excess of

 $75,000.00.

          2 i . In sum, Plaintiffs' claim for compensatory damages demonstrates by a

 preponderance of the evidence that the amount in controversy exceeds the $75,000.00, the


 jurisdictional requirement of this Court, and, thus, diversity jurisdiction is present. 28 U.S.c. §

 1332(a).

          V.       CONCLUSION

          This Court has original jurisdiction pursuant to 28 U.S.C. § 133 i as this action arises

 under and presents substantial questions of federal law and has supplemental jurisdiction over

 any state law claims because those claims arise out of the same operative facts and "form part of

 the same case or controversy under Aricle III of the United States Constitution." 28 U.S.C. §

 1367(a). In addition, the Court has diversity jurisdiction under 28 U.S.c. § 1332 because (i)

 diversity of citizenship between Plaintiffs and Defendants and (ii) an amount in excess of the

 $75,000.00 jurisdictional threshold is at issue.

          WHEREFORE, Defendants respectfully request the above-captioned action now pending

 in the Chancery Court for Shelby County, Tennessee, be removed to the United States District

 Court for the Western District of Tennessee, and that said United States District Court assume



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 jurisdiction of this action and enter such other and further orders as may be necessary to

 accomplish the requested removal and promote the ends of justice.

 This 2ih day of       February, 2012.       Respectfully submitted,




                                             s/Paul Allen England
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                                  CERTIFICATE OF SERVICE
        I hereby certifY that on February 27, 2012, a copy of the foregoing was filed
 electronically with the Clerk's office by using the CM/ECF system and served electronically
 and/or via first-class u.s. mail, postage prepaid, upon all counsel as indicated below. Parties
 may also access this fiing through the Court's ECF system.


         Via Us. Mail:
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         Memphis, TN 38104
         Attorneys for Plaintif




                                             slPaul Allen England
                                             Paul Allen England




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